     Case 4:95-cr-00142 Document 5679 Filed on 09/18/06 in TXSD Page 1 of 5




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

UNITED STATES OF AMERICA,                       }
                 Plaintiff-Respondent           }
                                                }
v.                                              }          CRIMINAL ACTION NO. H-95-142-67
                                                }            CIVIL ACTION NO. H-03-1622
MELBA RIOJAS MORENO                             }
                 Defendant-Petitioner           }


                                        MEMORANDUM & ORDER

        Pending before the court is Petitioner Melba Riojas Moreno’s (“Moreno”) Motion to Vacate,

Set Aside, or Correct Sentence Pursuant to 28 United States Code Section 2255 (“Section 2255")

(Instrument No. 5136) and the Government’s response (Instrument No. 5177). For the following

reasons the court ORDERS that Moreno’s motion is DENIED.

I.      RELEVANT FACTS.

        On April 13, 1998, pursuant to a plea agreement, Moreno pled guilty to one count of

conspiracy to commit money laundering in violation of Title 18 United States Code Section 1956(g)

and (h). As part of her plea agreement, Moreno waived her right to appeal her sentence or the

manner in which it was calculated. See Plea Agreement (Instrument No. 2611). On February 23,

2001, the court sentenced Moreno to 188 months imprisonment, three years supervised release, a

fine of $100,000, and a special assessment of $100. Moreno timely appealed her sentence to the

Fifth Circuit.

        On direct review, the Court of Appeals considered whether Moreno had made a voluntary

and knowing relinquishment of her right to appeal and whether the government had breached the

plea agreement. United States v. Melba Riojas Moreno, No. 01-20293 (5th Cir. March 8, 2002)

(Instrument No. 4699). Moreno argued that her plea was involuntary because it was induced by the
      Case 4:95-cr-00142 Document 5679 Filed on 09/18/06 in TXSD Page 2 of 5




government’s false representations and because she was not fully aware of its consequences. Id.

Alternatively, she argued that the government had breached the plea agreement by making promises

that were not fulfilled. Id. After considering the facts and law, the Court of Appeals determined that

Moreno had knowingly and voluntarily waived her right to appeal her sentence and had failed to

show by a preponderance of the evidence that the government breached the plea agreement. Id.

Because of Moreno’s waiver, the Court of Appeals declined to address the merits of Moreno’s other

claims and affirmed Moreno’s conviction and sentence. Id. Moreno filed the present motion on May

13, 2003.

II.     LAW

        In Johnson v. United States, 838 F.2d 201 (7th Cir. 1988), the Seventh Circuit considered

whether a valid waiver of appellate rights includes a waiver of the right to bring a collateral attack

under Section 2255. Based on the Supreme Court’s opinion in Kaufman v. United States, 394 U.S.

217 (1969), and the old principle “that foregoing an appeal will bar collateral review of appealable

issues,” the Seventh Circuit concluded that a waiver of appellate rights bars a movant from litigating

those issues in a Section 2255 motion. The Fifth Circuit has not had a similar opportunity to address

this question; however, this Circuit recognizes that defendants can waive their right to appeal or to

collaterally attack their convictions or sentences under Section 2255. See United States v. Melancon,

972 F.2d 566, 567 (5th Cir. 1992) (appellate rights); United States v. Wilkes, 20 F.3d 651, 653 (5th

Cir. 1994) (Section 2255). This court has reviewed the Seventh Circuit’s reasoning in Johnson, and,

finding it persuasive, adopts it as its own. To be effective a waiver of appellate rights must be

knowing and voluntary. Melancon, 972 F.2d at 567.




                                                 -2-
       Case 4:95-cr-00142 Document 5679 Filed on 09/18/06 in TXSD Page 3 of 5




         Once an issue has been raised and decided on direct review it will not be considered in a

Section 2255 motion unless there has been an intervening change in the law or new facts have arisen

or the movant is successful in showing that appellate counsel rendered ineffective assistance in

presenting the claim to the Court of Appeals. See United States v. Kalish, 780 F.2d 506, 508 (5th

Cir. 1986) (general rule); see also Randy Hertz and James S. Liebman, Federal Habeas Corpus

Practice and Procedure § 41.7(e) (5th ed. 2005) (listing exceptions).

III.     APPLICATION OF LAW TO THE FACTS.

         Moreno raises the following five claims in her Section 2255 motion: first, that the court

denied her due process when it ordered the United States Attorney’s Office to provide the Probation

Department with factual summaries for its use in preparing Moreno’s presentence report; second,

that Moreno’s guilty plea was not knowing and voluntary; third, that the government breached the

plea agreement by failing to file a 5K1.1 motion; fourth, that Moreno received ineffective-

assistance-of-counsel; and fifth, that Moreno is actually innocent of the sentence imposed.

         On direct review, the Court of Appeals addressed Moreno’s claim that her plea was

unknowing and involuntary and that the government breached the plea agreement. This court will

not revisit those rulings. The Court of Appeals also found that Moreno had effectively waived her

right to challenge her sentence or the manner in which it was calculated. This waiver bars Moreno’s

claim that she is actually innocent of the sentence imposed and that this court erred when it ordered

the government to provide the Probation Department with factual summaries to be used in

generating Moreno’s presentence report.

         Moreno makes the following ineffective-assistance-of-counsel claims: first, that counsel was

ineffective for failing to inform the court at her plea that the government had made promises not


                                                 -3-
     Case 4:95-cr-00142 Document 5679 Filed on 09/18/06 in TXSD Page 4 of 5




contained in the plea agreement; second, that counsel was ineffective for failing to present rebuttal

evidence at her sentencing; third, that counsel was ineffective for failing to lodge objections to the

presentence report; and fourth, that counsel improperly allowed the court to sentence the defendant

for monetary funds not laundered. None of Moreno’s claims are persuasive.

       Moreno’s first ineffective-assistance-of-counsel claim fails because, as noted by the Court

of Appeals on direct review, Moreno has presented no evidence indicating that the government made

promises outside the plea agreement. Given that she has failed to show that such promises were

made, Moreno cannot argue that her attorney was ineffective for failing to bring those same

promises to the court’s attention.

       Moreno’s second claim, that her attorney was ineffective because he failed to present rebuttal

evidence at sentencing, is also unsupported. Moreno argues that had her attorney called the

Probation Officer to the stand he would have established that the government wrote Moreno’s

presentence report. To support this argument, Moreno has attached the Probation Officer’s response

to Movant’s husband Pedro’s objections to his presentence report. (Instrument No. 5136, Ex.1).

Far from supporting Moreno’s position, the Probation Officer’s response states that nine-tenths of

the offense conduct section of Pedro’s presentence report had been completed before the court

ordered the government to provide Probation with factual summaries of the offense conduct.

According to Probation, the remaining one-tenth dealt almost exclusively with Pedro’s enhancement

for obstruction of justice.

       Moreno’s third and fourth claims deal with the substance of Moreno’s presentence report.

Moreno claims her attorney was ineffective because he failed to argue that her base offense level

was miscalculated and that she was not responsible for the bulk of the funds attributed to her. The


                                                 -4-
      Case 4:95-cr-00142 Document 5679 Filed on 09/18/06 in TXSD Page 5 of 5




court has reviewed the records in this case and has discovered that through a clerical error Moreno’s

objections to her presentence report were not docketed. A copy of her objections was, however,

placed in the court’s sentencing binder. See Defendant’s Objections to Presentence Report

(Attached as Ex. 1). These objections reflect that Moreno’s attorney raised the issue of Moreno’s

base offense level and the amount of money being attributed to her. Her attorney was not therefore

ineffective.

IV.     CONCLUSION

        For the aforementioned reasons, the court ORDERS the Melba Riojas Moreno’s Motion to

Vacate, Set Aside, or Correct Sentence Pursuant to 28 United States Code Section 2255 (Instrument

No. 5136) is DENIED.

        SIGNED at Houston, Texas, this 18th day of September, 2006.




                                                  ______________________________________
                                                              MELINDA HARMON
                                                      UNITED STATES DISTRICT JUDGE




                                                -5-
